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                          United States District Court
                          For The District of Columbia



 United States of America,

                    v.                           Case No. 21-cr-362 (APM)

 Andrew Michael Cavanaugh,

              Defendant.


                  Motion for Early Termination of Probation

      Pursuant to 18 U.S.C. § 3564(c), Mr. Andrew Cavanaugh, through

undersigned counsel, respectfully moves this Court to terminate his term of

probation early. Since the imposition of a 24 month period of probation, which

began on August 4, 2022, Mr. Cavanaugh has done exceptionally well on

supervision, has had no violations, and has completed his court ordered community

service. The government indicates it opposes early termination, but for

the reasons discussed below, termination of Mr. Cavanaugh’s probation is

warranted by his good conduct and in the interests of justice.

I.    Relevant Background

      On February 17, 2022, Mr. Cavanaugh pleaded guilty to one count of

Parading, Demonstrating, or Picketing in a Capitol Building in violation of 40

U.S.C. § 5104 (e)(2)(G). See Plea Ag’t, ECF No. 28. On August 4, 2022, he was

sentenced to 24 months’ probation with the special conditions that he pay $500 in

Restitution and that he complete 60 hours of community service. See Judgment



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ECF No. 39. To this date, Mr. Cavanaugh has completed his special conditions of

probation and has no further court ordered obligations.

II.    Legal Standard

       Under 18 U.S.C. § 3564(c), the court, after considering the factors set forth in

section 3553(a), may “terminate a probation previously ordered and discharge the

defendant at any time in the case of a misdemeanor….if it is satisfied that such

action is warranted by the conduct of the defendant and the interest of justice.”

According to the Federal Rules of Criminal Procedure, the court may modify the

conditions of probation without a hearing as long as motion is favorable to the

defendant and as long as the U.S. Attorney has received notification. Fed. R. Crim.

Pro. 32.1(b).

       The specified § 3553(a) factors to consider include: the nature and

circumstances of the offense and the history and characteristics of the defendant;

the need for the sentence imposed to afford adequate deterrence, to protect the

public from the defendant, and to provide the defendant with needed educational or

vocational training; the Sentencing Guidelines; the need to avoid unwarranted

sentencing disparities; and the need to provide restitution to any victims. 18 U.S.C.

§ 3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), (a)(7).

III.   Argument

       Early termination of Mr. Cavanaugh’s probation is warranted by his conduct

and the interests of justice.




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      First, the relevant § 3553(a) factors support early termination of Mr.

Cavanaugh’s probation. After being sentenced in August 4, 2022, Mr. Cavanaugh

took seriously the terms of his probation and worked diligently to complete all 60

hours of his court ordered community service as well as payment of the $500

Restitution required by his plea agreement and ordered by the Court. According to

his probation officer, Mr. Cavanaugh has been compliant over the past year,

completed his community service much quicker than expected, and is in Low

Category 1, which is the lowest level that indicates he is the least likely to reoffend.

      Mr. Cavanaugh has continued to run his construction business with his wife

and is still working hard to support his three children. He still resides in Montana

and has been supervised by the United States Probation Office in Helena, Montana.

      Second, there is no indication that Mr. Cavanaugh will re-offend. Ever since

the instant offense, he has focused on work and his family and has not engaged in

similar behavior. The government has advised that it opposes Mr. Cavanaugh’s

request for early termination, however has not identified any reasons for its

opposition. While the policy of the Montana Probation Office does not allow his

officer to officially recommend early termination, Mr. Cavanaugh’s probation officer

does not oppose it and has identified several factors in support of his compliance.

      Third, Mr. Cavanaugh has now successfully completed almost one year of

probation, which is the critical period during which most problems arise. His

compliance and absence of recidivism matches with the recent data obtained from

the United States Sentencing Commission that indicated that individuals who were




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in criminal history category one had the lowest rearrest rates by a significant

degree when compared to offenders who had criminal histories. 1

      In fact, studies show that terminating an offender’s supervision early does

not compromise community safety, and it saves a significant amount of judicial

resources. Laura M. Baber & James L. Johnson, Early Termination of Supervision:

No Compromise to Community Safety, Fed. Prob. 17, 21 (Sept. 2013) (“[T]he

attributable cost avoidance [of early termination] is significant.”) 2; see also U.S.

Courts, Early Termination of Supervision Cost-Effective & Safe, U.S. Courts (Sept.

24, 2013) (explaining that early termination saves time, money, and resources). 3 In

2013, a report by the AO concluded “that offenders granted early termination under

the current policies pose no greater danger to the community than offenders who

serve a full term of supervision.” Baber & Johnson at 20.

      Accordingly, the AO’s Judicial Conference Committee on Criminal Law

encourages courts and probation officers to consider early termination of

supervision in cases just like this one: where “the conditions of supervision have

been met, and the offender has successfully reintegrated into the community and

does not pose a foreseeable risk to public safety in general or to any individual

third-party.” John M. Hughes, Mem. to All Chief Probation Officers on New Criteria

for Accessing Early Termination of Supervision (Oct. 30, 2002); see also Baber &


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 See United States Sentencing Commission, Recidivism of Federal Offenders Released in
2010, September 20, 2021, available at https://www.ussc.gov/research/research-
reports/recidivism-federal-offenders-released-2010
2 Available at https://www.uscourts.gov/sites/default/files/77_2_2_0.pdf.

3Available at https://www.uscourts.gov/news/2013/09/24/early-termination-supervision-
cost-effective-and-safe.

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Johnson at 17 (explaining Judicial Conference policies “encourage[] probation

officers to seek early termination as soon as offenders [are] statutorily eligible if the

offender ha[s] satisfied the conditions of supervision, ha[s] successfully reintegrated

into the community, and d[oes] not pose a foreseeable risk to public safety generally

or to any individual third party”). As discussed above, Mr. Cavanaugh meets these

criteria.

       Courts should “align [their] resources effectively to address those cases that

are more complex and pose the greatest risks to community safety, while reducing

expenditures in less complex and lower risk cases when it is prudent to do so.” Hon.

Robert Holmes Bell, Mem. on Cost-Containment Strategies Related to Probation and

Pretrial Services Offices (Feb. 16, 2012). Time and money spent supervising Mr.

Cavanaugh should instead go towards providing reentry support to those with

greater needs. Mr. Cavanaugh has shown that he does not require any further

supervision.

       Lastly, the interests of justice support early termination. Mr. Cavanaugh was

on pre-trial supervision for over a year prior to being sentenced and now has

completed almost one year of post sentencing supervision. His total of

approximately two years of supervision has restricted his liberty and has required

Mr. Cavanaugh to refrain from possessing a firearm. Mr. Cavanaugh used to hunt

and go to the shooting range, however has not been able to do so for over two years

due to the instant matter. He has accepted responsibility for his crime and served

his sentence as an exceptional supervisee. There is no longer any need for any

further restrictions of Mr. Cavanaugh’s liberty.

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                               Conclusion

      For the foregoing reasons, Mr. Cavanaugh respectfully requests that the

Court grant this motion, terminate his term of probation, and discharge him.




                                            Respectfully submitted,

                                            A.J. KRAMER
                                            FEDERAL PUBLIC DEFENDER

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